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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                  CR 12-82-GF-BMM-04

                 Plaintiff,
                                            FINDINGS AND
       vs.                                  RECOMMENDATIONS TO
                                            REVOKE DEFENDANT’S
 BILLIE JOE BULLSHIELDS,                    SUPERVISED RELEASE

                 Defendant.


                                   I. Synopsis

      The United States accused Ms. Bullshields of violating her conditions of

supervised release by consuming alcohol. She admitted to the violation. Ms.

Bullshields’s supervised release should be revoked. She should be sentenced to

four months of custody, with twenty months of supervised release to follow to

include substance abuse treatment at Passages in Billing, Montana and six months

at a Residential Reentry Center.

                                   II. Status

      In February 2013, Ms. Bullshields pleaded guilty to Distribution of

Methamphetamine. (Doc. 104.) United States District Court Judge Dana L.

Christensen sentenced Ms. Bullshields to 48 months in custody and 48 months of


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supervised release. (Doc. 146.) Ms. Bullshields’s first term of supervised release

began on July 23, 2015. (Doc. 199.)

      In September 2015, Ms. Bullshields’s supervised release was revoked

because she violated her conditions of release by using alcohol, using a controlled

substance, and failing to notify her probation officer of a change in employment.

She was sentenced to six months of custody and 24 months of supervised release.

(Doc. 208.) Ms. Bullshields’s second term of supervised release began on

February 12, 2016. (Doc. 212.)

      On April 18, 2016, The Court revoked Ms. Bullshields’ supervised release

because she failed to notify her probation officer of a change in her residence,

failed to participate in mental health treatment, failed to participate in substance

abuse testing, and used a controlled substance. (Doc. 223.) United States District

Judge Brian Morris sentenced her to five months in custody, followed by twenty-

four months of supervised release. (Id.) Her current term of supervised release

began on July 22, 2016.

      On July 26, 2016, Ms. Bullshields provided the United States Probation

Office (USPO) with a urine sample that tested positive for alcohol. The USPO

referred her to substance abuse treatment to address past and current substance

abuse issues. On September 6, 2016, Ms. Bullshields provided a urine sample that

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tested positive for Subutex. The USPO referred her phase testing at the Great Falls

Transition Center. On September 13, 2016, Ms. Bullshields reported to the USPO

that she had been kicked out of the Great falls Rescue Mission for failing to report.

Ms. Bullshields stated that he had a mental breakdown the evening before and had

used alcohol and methamphetamine. The USPO filed a Report of Offender Under

Supervision outlining these violations. (Doc. 226.) Judge Morris allowed her to

continue supervision. (Id.)

        Petition

        On September 22, 2016, the USPO filed a petition asking the Court to

revoke Ms. Bullshields’s supervised release. (Doc. 228.) The USPO accused Ms.

Bullshields of violating her conditions of supervised release by consuming alcohol.

Based on the petition, Judge Morris issued a warrant for Ms. her arrest. (Doc.

229.)

        Initial appearance

        On September 29, 2016, Ms. Bullshields appeared before the undersigned in

Great Falls, Montana, for an initial appearance. Federal Defender Evangelo

Arvanetes accompanied her at the initial appearance.

        Ms. Bullshields said she had read the petition and understood the allegations.

Ms. Bullshields waived the preliminary hearing, and the parties consented to

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proceed with the revocation hearing before the undersigned. The Court continued

the revocation hearing until October 27, 2016, in order to allow for an evaluation

of Ms. Bullshields eligibility for treatment.

      Revocation hearing

      On October 27, 2016, Ms. Bullshields appeared with Mr. Arvanetes before

the undersigned for a revocation hearing. Ms. Bullshields admitted that she

violated the conditions of her supervised release. The violations are serious and

warrant revocation of Ms. Bullshields’s supervised release. The Court continued

the revocation hearing so the USPO could determine if Passages Treatment Center

would accept Ms. Bullshields. On November 15, 2016, the sentencing phase of Ms.

Bullshields’s revocation hearing commenced. Mr. Avanetes accompanied her.

Assistant United States Attorney Jessica Betley represented the United States.

      Ms. Bullshields’s violation grade is Grade C, her criminal history category is

I, and her underlying offense is a Class B felony. She could be incarcerated for up

to thirty-six months. She could be ordered to remain on supervised release for

twenty-four months, less any custody time imposed. The United States Sentencing

Guidelines call for four to ten months in custody.

      Mr. Arvanetes recommended a sentence within the guideline range and

continued supervision and treatment to follow. Ms. Betley recommended a

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guideline sentence with supervised release and treatment to follow. Ms.

Bullshields addressed the Court and stated that she is getting tired of this lifestyle

and is tired of putting her kids though this. She said she feels like she let them

down again.

                                    III. Analysis

      Ms. Bullshields’s supervised release should be revoked because she

admitted violating its conditions. Ms. Bullshields should be sentenced to four

months of custody, with twenty months of supervised release to follow to include

substance abuse treatment at Passages and six months at a Residential Reentry

Center. This sentence would be sufficient given the serious violation of the Court’s

trust, but it would not be greater than necessary.

                                   IV. Conclusion

      Ms. Bullshields was advised that the above sentence would be recommended

to Judge Morris. The Court reminded her of her right to object to these Findings

and Recommendations within 14 days of their issuance. The undersigned

explained that Judge Morris would consider Ms. Bullshields’s objection, if it is

filed within the allotted time, before making a final determination on whether to

revoke Ms. Bullshields’s supervised release and what, if any, sanction to impose.



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The undersigned FINDS:

             Billie Joe Bullshields violated her conditions of supervised release by
             consuming alcohol.


The Court RECOMMENDS:

             The District Court should enter the attached Judgment,
             revoking Billie Joe Bullshields’s supervised release and
             sentencing her to four months of custody, with twenty
             months of supervised release to follow, to include
             substance abuse treatment at Passages and six months at
             a Residential Reentry Center.



        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.


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Dated the 16th day of November 2016.




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